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                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF NEVADA


                                               ***


      SHANNON CARTER,

                              Plaintiff,             Case No.: 2:17-cv-01628-RFB-EJY

      vs.                                            RESPONSE IN OPPOSITION TO
                                                     MOTION FOR ENTRY OF
      S. BEAN and DR. BITAR, et al.;                 ORDER ON THE DOCKET OR,
                                                     IN THE ALTERNATIVE, TO
                        Defendants.                  REOPEN THE TIME TO FILE AN
      __________________________________/            APPEAL




            COMES NOW, SHANNON CARTER (“Carter” or “Plaintiff”), by and through the

undersigned counsel, and hereby file the following Response in Opposition to the

Motion for Entry of Order on the Docket or, in the Alternative, to Reopen the Time to File

an Appeal [ECF #119] by S. BEAN and DR. BITAR, et al. (“Defendants”) in this matter on

April 12, 2022.

            This Response is made and based upon all the pleadings and records on file for

this proceeding together with every exhibit that is mentioned herein or attached hereto,

if any there be, as well as the points and authorities set forth directly hereinafter.

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                    MEMORANDUM OF POINTS AND AUTHORITIES

      Background

      The Court issued its order denying the Plaintiff’s motion and granting in part

Defendants’ motion for summary judgment on November 30, 2020 at ECF #87. On

December 14, 2020, the Defendants filed a Motion for Reconsideration [ECF #88],

seeking relief under Local Rule 59-1, and this Court denied the same at the hearing

conducted on September 28, 2021. ECF #108.

      On December 17, 2020, the Defendants filed a Notice of Appeal in Docket No.

20-17442 (ECF #89) of this matter. The Clerk of the Court at the 9th Circuit Court of

Appeals issued an order on January 7, 2021 holding appellate proceedings in abeyance

pending the resolution of the Defendants’ Motion. See Exhibit 2.

      On October 9, 2021, the Plaintiff filed a Motion to Certify the appeal in Docket No.

20-17442 as frivolous. [ECF #109].

      On November 2, 2021, the Defendants filed a Notice of Intent Not to Prosecute

Appeal Following District Court Ruling in Appeal No. 20-17442, attached hereto as

Exhibit 1.

      On November 15, 2021, the 9th Circuit issued a Mandate in Docket No. 20-17442

[ECF #111] dismissing the appeal because it was withdrawn by the Defendants. On

January 17, 2022, the parties filed a stipulation establishing deadline for the filing of a

proposed joint pretrial order of April 30, 2022, such that the parties could pursue

potential resolution of this case, which was granted by the Court an ECF #115.

      Despite their earlier position that they would not prosecute the appeal of the

Court’s Order on the motion for reconsideration, on April 8, 2022, the defendants filed a

second Notice of Appeal, in which the Defendants appeal the Court’s order [EFC #88]

denying Defendants’ motion for reconsideration of its ruling on the motions for

summary judgment. The second appeal in this matter was designated as 9th Circuit

Docket No. 22-15541.




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      The Court’s Order on summary judgment and on the motion for

reconsideration are not appealable interlocutory orders

      In its Order denying summary judgment in part at ECF #87, the Court specifically

concluded that there were two facts in dispute: (1) What occurred when Mr. Carter was

brought to his appointment on February 1, 2017, i.e. whether he was denied treatment

for his dental issues or was refused treatment by the Defendants; and (2) whether

Carter had a serious medical need that was disregarded by the Defendants. Id. at 3-4.

The Court concluded that genuine issues of material fact exist which could enable a

jury to find that the Defendants were deliberately indifferent to Carter’s medical needs

and retaliated against Carter for filing the collateral State Court matter. It was on this

basis that the Court denied summary judgment. The Court denied the Defendants

qualified immunity on the specific grounds that issues of fact remained to be decided.

Id. at 12 (citing Sandoval v. Las Vegas Metropolitan Police Dept., 756 F.3d 1154, 1160

(9th Cir. 2014)).

      Further, the Defendants failed to move for summary judgment on the Plaintiff’s

14th Amendment Due Process claim. In the Screening Order at ECF #44, the Court

permitted three claims to proceed against the Defendants: (1) an Eighth Amendment

deliberate indifference claim against Defendants Bean, Bitar, Nash, and Williams; (2) a

Fourteenth Amendment Substantive Due Process claim against Bean, Bitar, Nash,

Williams, Aranas, Buencamino, Stewart, Howell and Dzurenda; and (3) a First

Amendment retaliation claim against Defendants Bean and Bitar. In Defendant’s July

30, 2020 Motion for Summary Judgment (ECF #69), the Defendants only moved for

judgment on claims 1 and 3 above and failed to move for judgment on Mr. Carter’s

Fourteenth Amendment Substantive Due Process claim. On October 13, 2020, Carter

filed his Response in Opposition to Defendant’s Motion for Summary Judgment [ECF

#79]. On December 20, 2020, the Defendants filed a Supplement [ECF #81] to their

Motion for Summary Judgment, arguing that Carter is not entitled to summary judgment

on his Fourteenth Amendment due process claims because his underlying Eighth


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Amendment deliberate indifference to a serious medical condition claims fail as a

matter of law. However, the Order from the Court at ECF #68, the deadline to file

dispositive motions was set at July 31, 2020. Any argument regarding summary

judgment on Mr. Carter’s Fourteenth Amendment Substantive Due Process claim was

due on that date, and Defendant’s “supplement” moving for judgment on that claim

was untimely by half a year.

       In the second Notice of Appeal filed by the Defendants [ECF #117], the

Defendants claim that the Court’s Order is appealable under 28 U.S.C. § 1291, because

they appeal the District Court’s denial of qualified immunity in denying the motion for

summary judgment. However, a district court's denial of a claim of qualified immunity

is an appealable final decision under 28 U.S.C. § 1291, “to the extent that it turns on an

issue of law.” Mitchell v. Forsyth, 472 U.S. 511, 530, 105 S. Ct. 2806, 2817 (1985).

Here, the Court’s Order, and its denial of summary judgment, was unambiguously

based on disputed issues of fact. Defendants’ appeal based on issues of fact rather

than an issue of law is unlikely to be successful and likely to be a waste of time and

appellate resources.

       Upon the district court taking the affirmative step of certifying an appeal as

frivolous, the district court retains jurisdiction to proceed to trial. Rivera-Torres v. Ortiz

Velez, 341 F.3d at 94, citing Stewart v. Donges, 915 F.2d 572, 577-78 (10th Cir. 1990),

Chuman v. Wright, 960 F.2d at 105, Yates v City of Cleveland, 941 F.2d 444, 449 (6th

Cir. 1991).

       The Defendants withdrew their first appeal and expressly stated that an

appeal of the Court’s order at ECF #88 would not be pursued.

       In the Defendants first appeal of this matter Notice of Appeal (ECF #89), the Clerk

of the Court at the 9th Circuit Court of Appeals issued an order on January 7, 2021

holding appellate proceedings in abeyance pending the resolution of the Defendants’

Motion. See Exhibit 2. In that Order, the 9th Circuit stated that:

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      The court’s records reflect that the notice of appeal was filed during the
      pendency of a timely filed motion listed in Federal Rule of Appellate
      Procedure 4(a)(4). The notice of appeal is therefore ineffective until entry
      of the order disposing of the last such motion outstanding. See Fed. R.
      App. P. 4(a)(4).

      On November 2, 2022, the Defendants filed a Notice of Intent Not to Prosecute

Appeal Following District Court Ruling in Appeal No. 20-17442, attached hereto as

Exhibit 1, in which the Defendants stated:

      Defendants Appellants do not intend to prosecute their appeal
      following the District Court’s ruling on their Motion for
      Reconsideration (ECF No. 88). Accordingly, this matter should be
      remanded to the District Court so that Plaintiff-Appellee’s
      outstanding claims may proceed to trial.

On November 15, 2021, the 9th Circuit issued a Mandate in Docket No. 20-17442 [ECF

#111] dismissing the appeal because it was withdrawn by the Defendants. Because the

Mandate applied to the Defendants’ Motion for Reconsideration, the court should deem

the second appeal of that order to be frivolous. FRAP 41(a) provides that the mandate

shall issue 21 days following a circuit court's judgment, and a mandate reflects the final

judgment of the Court of Appeals. Once the Defendants’ appeal was dismissed and a

mandate issued, the appellate court no longer has jurisdiction over the merits of the

appeal. United States v. Arevalo, 408 F.3d 1233, 1234 (9th Cir. 2005).

      The second Notice of Appeal was not timely filed

      In the second Notice of Appeal and in the Motion the Defendants claim that

Defendants timely moved [ECF # 88] for reconsideration of the Court’s Order denying

summary judgment, which motion is listed in FRAP 4(a)(4), and the district court entered

its order [ECF #113] denying the motion for reconsideration on March 31, 2022, when

the transcript which the district court ruled “shall serve as the written Opinion and Order

of the Court” was entered on the Court docket. The Defendants argue that because the

reporter’s transcript was not entered into the docket in this matter until March 31, 2022,

that the April 8, 2022 Notice of Appeal was timely.




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      The Defendants cite Herrera v. First N. Sav. & Loan Ass'n, 805 F.2d 896, 899 (10th

Cir. 1986), and claim that “Entry” has a well defined meaning and occurs when the

essentials of a judgment or order are set forth in a written document “separate from the

court's opinion and memorandum and when the substance of this separate document

is reflected in an appropriate notation on the docket sheet assigned to the action in the

district court.” However, the Court’s record as to when the Defendants’ motion for

reconsideration was denied, i.e. at ECF #108, which are the Court’s Minute Order from

the September 28, 2021 hearing on the motion for reconsideration, the record clearly

states: “For the reasons stated on the record at the hearing, IT IS ORDERED that 88

Motion for Reconsideration is DENIED.” Further, the Court’s record indicates that the

transcript of the September 28, 2021 hearing was entered into the docket in this matter

on December 31, 2021. See ECF #113. The Defendants’ do not deny that they knew

of the Court’s ruling, or that they inexplicably failed to file a Notice of Appeal despite

clearly being aware of the Court’s ruling in September of 2021.

      Under FRAP 4(a)(4), an appeal may be taken as a matter of right within 30 days

after entry of the tolling motion appealed from was entered into the docket. Under

FRCP 79(a), the order denying the motion for reconsideration was entered into the

docket on one of two occasions, in the September 28, 2021 minute order at ECF #108,

or at the docketing of the transcript of that hearing on December 31, 2021 at ECF #113,

at which time the transcript was made available to parties to purchase or to view at the

Court’s terminal. In either case, the April 8, 2022 Notice of Appeal was grossly

untimely.

      The Defendants cite Meyer v. Portfolio Recovery Assocs., Ltd. Liab. Co., 707 F.3d

1036, 1041 (9th Cir. 2012) for the argument that the Court’s minute order at ECF #108

was not a final appealable order, where a Court expressly states that a final written

order would follow. However, the final written order was recorded in the Court’s docket

on December 31, 2021 at ECF #113. The entry in the docket indicates that before the

December 31, 2021 release date, the transcript could be viewed at the court public


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terminal or purchased through the reporter. Under FRCP 79(a), the Court’s order was

entered on December 31, 2021, not March 31, 2022. No “separate document” was

required under the rules for entering judgment under FRCP 58(a) because the order

denying the motion for reconsideration was not one of the types of motions listed in

FRCP 58(a).

      A post-judgment motion is not final for purposes of appeal until district court has

issued a separate document containing its judgment, which is then entered on docket

pursuant to Rule 79(a). Fiore v. Washington County Community Mental Health Center,

936 F.2d 51, 19 Fed. R. Serv. 3d (Callaghan) 1209, 1991 U.S. App. LEXIS 13183 (1st Cir.

1991). Reliance on the unavailability of the transcript would not support a Party’s

position in a motion to reconsider, especially when the “movants have not represented

to the Court that they have attempted unsuccessfully to access the Transcript” via

“public terminals” or purchase in a state district court portal before the deadline for

Release of Transcript. See In re Fin. Oversight & Mgmt. Bd., 612 B.R. 821, 823 (D.P.R.

2019). But see Fressadi v. Glover, 2018 U.S. Dist. LEXIS 114630, at *14 (D. Ariz. July 9,

2018) (Even though the court recognized that an in forma pauperis Plaintiff could get

access to the transcript through a public terminal before the Release of Transcript

Restriction, the court granted a 14-day extension to file a motion to reconsider).

      In this case, defense counsel recognized that there were multiple options

available to obtain a transcript before the Release of Transcript Restriction, yet acted on

a mistaken belief of a technical issue with the court’s filing system. However, the court

filing system was clear to defense counsel that there were other opportunities to see

the transcript. See ECF #119, Exhibit B (“Before release date, the transcript may be

viewed at the court public terminal or purchased through the reporter. Transcript Order

form is available or purchased through the reporter.”). Even plaintiff’s counsel has

provided defense counsel with a copy of the transcript during a meet and confer. See

ECF #119, Declaration of Chris Davis, para. 6 (“Opposing Counsel indicated that he

would email me a copy of the transcript”). Plaintiff’s counsel has never informed


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opposing counsel of a plan to redact the transcript or filed a notice indicating that any

redaction was necessary. Moreover, unlike what in forma pauperis party may be

mistaken, Defendants should understand that the “Release of the Transcript

Restriction” date does not mean that the transcript is not available. Defense counsel’s

mistaken belief should not be this court’s basis of reopening the filing time to appeal.

Time limits on filing a notice of appeal are "mandatory and jurisdictional." United States

v. Arevalo, 408 F.3d 1233, 1234 (9th Cir. 2005).

      Reopening the time for the filing of an appeal under FRAP 4(a)(6) is not

warranted under the circumstances in this case

      FRAP 4(a)(6) permits the Court to reopen the time for appeal under limited and

extraordinary circumstances. FRAP 4(a)(6) was, by its terms, meant to provide a

remedy where a party was genuinely unaware of a ruling from a court and the time

period for an appeal passed during that time frame, resulting in manifest injustice. The

time limits in FRAP 4(a)(6) apply when a party would be unfairly deprived of appeal

because of failure of the court clerk to provide notice of entry of an order. Marcangelo v.

Boardwalk Regency, 47 F.3d 88 (3d Cir. 1995).

      Under FRAP 4(a)(6)(A), as explained at length above, the Defendants received

notice of the entry of the Court’s order in September of 2021, and again when the

Court’s order was entered on December 31, 2021. Under FRAP 4(a)(6)(B) the

Defendants’ Motion was not filed within the required 14 days after the moving party

receives notice that the order at issue was entered. Under FRAP 4(a)(6)(C), Mr. Carter

will certainly be prejudiced by allowing the government to drag out these proceedings

ad nauseum. This case is almost 5 years old, and despite the Plaintiff’s diligent

attempts to get the case on track, the Defendants have filed a second appeal of an

order that they expressly claimed they would not seek appeal from. The Defendants are

wasting the time and the resources of the Plaintiff and of the Court.




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     BASED ON THE FOREGOING, the Plaintiff requests that the Court deny the

Defendants' Motion.



                                      DATED this Apr 25, 2022 :

                                          By:__/s/ Luke Busby, Esq. _____
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                                           Nevada Bar No. 10319
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                                           Attorney for the Plaintiffs




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                                 Exhibit List

1. Defendants’ Notice of Intent Not to Prosecute Appeal

2. Jan 7, 2021 9th Cir. Order




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                                 CERTIFICATE OF SERVICE



      Pursuant to FRCP 5(b), I certify that on the date shown below, I caused service to

be completed of a true and correct copy of the foregoing Document by:

______         personally delivering;

______         delivery via Reno/Carson Messenger Service;

______         sending via Federal Express (or other overnight delivery service);

______         depositing for mailing in the U.S. mail, with sufficient postage affixed

thereto; or,

______         delivery via electronic means (fax, eflex, NEF, etc.) to:



               Chris Davis, Esq.
               Deputy Attorney General – Public Safety Division
               Office of the Nevada Attorney General
               555 East Washington Avenue, Suite 3900
               Las Vegas, Nevada 89101
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               Attorneys for Defendants


                                           DATED this Apr 25, 2022 :



                                           By:___/s/ Luke Busby, Esq. ___




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